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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

        Plaintiff,

  v.

  MICHAEL J. LINDELL,
  FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants.


                                  EXHIBIT – 1
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                                                                                                                                                          S. HRG. 115–92

                                                                           RUSSIAN INTERFERENCE IN THE 2016 U.S.
                                                                                        ELECTIONS



                                                                                                         HEARING
                                                                                                               BEFORE THE


                                                                   SELECT COMMITTEE ON INTELLIGENCE
                                                                                                                   OF THE


                                                                                       UNITED STATES SENATE
                                                                                    ONE HUNDRED FIFTEENTH CONGRESS
                                                                                                             FIRST SESSION


                                                                                                   WEDNESDAY, JUNE 21, 2017


                                                                                Printed for the use of the Select Committee on Intelligence




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                                                                       Chairman BURR. Thank you, Mr. Sandvoss.
                                                                       Dr. Halderman.

                                                                  STATEMENT OF J. ALEX HALDERMAN, Ph.D., PROFESSOR OF
                                                                   COMPUTER SCIENCE AND ENGINEERING, UNIVERSITY OF
                                                                   MICHIGAN
                                                                     Dr. HALDERMAN. Chairman Burr, Vice Chairman Warner, and
                                                                  members of the Committee: Thank you for inviting me to speak
                                                                  with you today about the security of U.S. elections.
                                                                     I’m a Professor of Computer Science and have spent the last 10
                                                                  years studying the electronic voting systems that our Nation relies
                                                                  on. My conclusion from that work is that our highly computerized
                                                                  election infrastructure is vulnerable to sabotage and even to cyber
                                                                  attacks that could change votes. These realities risk making our
                                                                  election results more difficult for the American people to trust.
                                                                     I know America’s voting machines are vulnerable because my col-
                                                                  leagues and I have hacked them repeatedly as part of a decade of
                                                                  research studying the technology that operates elections and learn-
                                                                  ing how to make it stronger. We’ve created attacks that can spread
                                                                  from machine to machine, like a computer virus, and silently
                                                                  change election outcomes. We’ve studied touchscreen and optical
                                                                  scan systems, and in every single case we found ways for attackers
                                                                  to sabotage machines and to steal votes. These capabilities are cer-
                                                                  tainly within reach for America’s enemies.
                                                                     As you know, states choose their own voting technology and,
                                                                  while some states are doing well with security, others are alarm-
                                                                  ingly vulnerable. This puts the entire Nation at risk. In close elec-
                                                                  tions, an attacker can probe the most important swing states or
                                                                  swing counties, find areas with the weakest protection, and strike
                                                                  there. In a close election year, changing a few votes in key local-
                                                                  ities could be enough to tip national results.
                                                                     The key lesson from 2016 is that these threats are real. We’ve
                                                                  heard that Russian efforts to target voter registration systems
                                                                  struck 21 states, and we’ve seen reports detailing efforts to spread
                                                                  an attack from an election technology vendor to local election of-
                                                                  fices. Attacking vendors and municipalities could have put Russia
                                                                  in a position to sabotage equipment on Election Day, causing ma-
                                                                  chines or poll books to fail, and causing long lines or disruption.
                                                                  They could have engineered this chaos to have a partisan effect by
                                                                  striking places that lean heavily towards one candidate.
                                                                     Some say the fact that voting machines aren’t directly connected
                                                                  to the Internet makes them secure, but unfortunately, this is not
                                                                  true. Voting machines are not as distant from the Internet as they
                                                                  may seem. Before every election, they need to be programmed with
                                                                  races and candidates. That programming is created on a desktop
                                                                  computer, then transferred to voting machines. If Russia infiltrated
                                                                  these election management computers, it could have spread a vote-
                                                                  stealing attack to vast numbers of machines.
                                                                     I don’t know how far Russia got or whether they managed to
                                                                  interfere with equipment on Election Day, but there’s no doubt that
                                                                  Russia has the technical ability to commit widespread attacks
                                                                  against our voting system, as do other hostile nations. I agree with
                                                                  James Comey when he warned here two weeks ago: We know
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                                                                  they’re coming after America, and they’ll be back. We must start
                                                                  preparing now.
                                                                     Fortunately, there’s a broad consensus among cybersecurity ex-
                                                                  perts about measures that would make America’s election infra-
                                                                  structure much harder to attack. I’ve co-signed a letter that I’ve en-
                                                                  tered into the record from over 100 leading computer scientists, se-
                                                                  curity experts, and election officials that recommends three essen-
                                                                  tial steps.
                                                                     First, we need to upgrade obsolete and vulnerable voting ma-
                                                                  chines, such as paperless touchscreens, and replace them with opti-
                                                                  cal scanners that count paper ballots. This is a technology that 36
                                                                  states already use. Paper provides a physical record of the vote
                                                                  that simply can’t be hacked.
                                                                     President Trump made this point well on Fox News the morning
                                                                  after—the morning of the election. He said, ‘‘There’s something
                                                                  really nice about the old paper ballot system. You don’t worry
                                                                  about hacking.’’
                                                                     Second, we need to use the paper to make sure that the com-
                                                                  puter results are right. This is a common-sense quality control and
                                                                  it should be routine. Using what’s known as a risk-limiting audit,
                                                                  officials can check a small, random sample of the ballots to quickly
                                                                  and affordably provide high assurance that the election outcome
                                                                  was correct. Only two states, Colorado and New Mexico, currently
                                                                  conduct audits that are robust enough to reliably detect cyber at-
                                                                  tacks.
                                                                     Lastly, we need to harden our systems against sabotage and
                                                                  raise the bar for attacks of all sorts by conducting comprehensive
                                                                  threat assessments and applying cybersecurity best practices to the
                                                                  design of voting equipment and the management of elections.
                                                                     These are affordable fixes. Replacing insecure paperless voting
                                                                  machines nationwide would cost $130 million to $400 million. Run-
                                                                  ning risk-limiting audits nationally for Federal elections would cost
                                                                  less than $20 million a year. These amounts are vanishingly small
                                                                  compared to the national security improvement they buy.
                                                                     State and local election officials have an extremely difficult job,
                                                                  even without having to worry about cyber attacks by hostile gov-
                                                                  ernments. But the Federal Government can make prudent invest-
                                                                  ments to help them secure elections and uphold voters’ confidence.
                                                                  We all want election results that we can trust.
                                                                     If Congress works closely with the states, we can upgrade our
                                                                  election infrastructure in time for 2018 and 2020. But if we fail to
                                                                  act, I think it’s only a matter of time until a major election is dis-
                                                                  rupted or stolen in a cyber attack.
                                                                     Thank you for the opportunity to testify today and for your lead-
                                                                  ership on this critical matter. I look forward to answering any
                                                                  questions.
                                                                     [The prepared statement of Dr. Halderman follows:]
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                                                                     Chairman BURR. Dr. Halderman, thank you.
                                                                     The Chair would recognize himself for five minutes. Members
                                                                  will be recognized by seniority.
                                                                     Secretary Lawson, in how many states is the secretary of state
                                                                  in charge of the elections process, do you know?
                                                                     Ms. LAWSON. Yes, sir. It’s 40.
                                                                     I’m sorry. Yes, sir. It’s 40.
                                                                     Chairman BURR. Okay. Would you be specific: What do the sec-
                                                                  retary of states do—what is it they do not like about elections
                                                                  being designated critical infrastructure?
                                                                     Ms. LAWSON. The most important issue, sir, is that there have
                                                                  been no clear parameters set and, even after the three calls that
                                                                  we had with Secretary Jeh Johnson before the designation was
                                                                  made, we consistently asked for what would be different if the des-
                                                                  ignation was made and how we would communicate. Would it be
                                                                  any different——
                                                                     Chairman BURR. So nothing has negatively happened except that
                                                                  you don’t have the guidance to know what to do?
                                                                     Ms. LAWSON. Nothing has negatively happened to this date, but
                                                                  also nothing positive has happened.
                                                                     Chairman BURR. Got it. Got it.
                                                                     Mr. Sandvoss, Illinois is one of the few states that have publicly
                                                                  been identified. I guess that’s in part because you took the initia-
                                                                  tive to do it. You gave a good chronology: 23 June, first sign; 12
                                                                  July, State IT staff took action; 12 August, the attacks stopped.
                                                                     At what point was the State of Illinois contacted by any Federal
                                                                  entity about their system having been attacked or was it the State
                                                                  of Illinois that contacted the Federal Government?
                                                                     Mr. SANDVOSS. We were contacted by the FBI—I don’t have the
                                                                  exact date, but it was after we had referred the matter to the At-
                                                                  torney General’s office. My guess would be probably a week after.
                                                                     Chairman BURR. A week after——
                                                                     Mr. SANDVOSS. After the AG was notified by us of this breach.
                                                                     Chairman BURR. And the AG was notified approximately when?
                                                                     Mr. SANDVOSS. On July 19th.
                                                                     Chairman BURR. July 19th. Okay.
                                                                     At what point did the State of Illinois know that it was the Rus-
                                                                  sians?
                                                                     Mr. SANDVOSS. Actually, to this day we don’t know with certainty
                                                                  that it was the Russians. We’ve never been told by any official enti-
                                                                  ty. The only one that we’re aware of that was investigating was the
                                                                  FBI and they have not told us definitively that it was the Russians.
                                                                  Our IT staff was able to identify, I think it was, seven IP addresses
                                                                  from a foreign location, I believe it was The Netherlands. But that
                                                                  doesn’t mean that the attack originated in the Netherlands. We
                                                                  have no idea where it originated from.
                                                                     Chairman BURR. Did your IT staff have some initial assessments
                                                                  on their own?
                                                                     Mr. SANDVOSS. No, because I think any—anything of that nature
                                                                  would have been speculative and we didn’t want to do that. I think
                                                                  we wanted to leave that to the professional investigators.
                                                                     Chairman BURR. You gave an update on what you’re currently
                                                                  doing to enhance the security: DHS weekly security checks. Has
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                                                                  the Federal—in your estimation, has the Federal Government re-
                                                                  sponded appropriately to date?
                                                                     Mr. SANDVOSS. I believe they have, yes. I’ve heard nothing from
                                                                  our IT division and they’d be the persons that would know. I’ve
                                                                  heard nothing from them that the DHS’s work in that matter has
                                                                  been less than satisfactory.
                                                                     Chairman BURR. Let me ask all of you, except for you, Mr.
                                                                  Sandvoss: Do you believe the extent of cyber threats to election sys-
                                                                  tems should be made public before the next election cycle? Should
                                                                  we identify those states that were targeted, Mr. Haas?
                                                                     Mr. HAAS. I think as election directors we’re certainly sensitive
                                                                  to the balance that Homeland Security and others need to make.
                                                                  I think so far, as far as we’ve gone, we want to know as the victims
                                                                  or potential victims. And then I think as part of the coordinating
                                                                  council and designation of critical infrastructure, there has to be a
                                                                  conversation amongst the election——
                                                                     Chairman BURR. Is there a right of the public in your State to
                                                                  know?
                                                                     Mr. HAAS. Yes, I believe there is. If there was a hack into our
                                                                  system, I think that we would certainly want to consult our stat-
                                                                  utes and so forth, but we would—we believe in transparency. We
                                                                  would want to let the public know.
                                                                     Chairman BURR. Dr. Halderman.
                                                                     Dr. HALDERMAN. I think the public needs details about these at-
                                                                  tacks and about the vulnerabilities of the system, in order to make
                                                                  informed decisions about how we can make the system better and
                                                                  to provide the resources that election officials need. So, yes.
                                                                     Chairman BURR. Okay.
                                                                     Secretary Lawson.
                                                                     Ms. LAWSON. I lay awake at night worrying about public con-
                                                                  fidence in our election systems, and so I think we need to be very
                                                                  careful and we need to balance the information, because the worst
                                                                  thing that we can do is make people think that their vote doesn’t
                                                                  count or it could be canceled out.
                                                                     And so if telling the public that, you know, that these attacks are
                                                                  out there and our systems are vulnerable and it doesn’t undermine
                                                                  confidence, it makes them know that we are doing everything we
                                                                  possibly can to stop those attacks, I’d be in favor of it.
                                                                     Chairman BURR. I take for granted none of you at the table have
                                                                  evidence that vote tallies were altered in the 2016 election?
                                                                     Dr. HALDERMAN. Correct.
                                                                     Chairman BURR. Dr. Halderman, before I recognize the Vice
                                                                  Chairman real quickly: When you and your colleagues hacked elec-
                                                                  tion systems, did you get caught?
                                                                     Dr. HALDERMAN. We hacked election systems as part of academic
                                                                  research, where we had machines in our facilities——
                                                                     Chairman BURR. I get that. Did you get caught? Did they see
                                                                  your intrusion into their systems?
                                                                     Dr. HALDERMAN. The one instance when I was invited to hack a
                                                                  real voting system while people were watching, was in Washington,
                                                                  D.C., in 2010, and in that instance it took less than 48 hours for
                                                                  us to change all the votes and we were not caught.
                                                                     Chairman BURR. Vice Chairman.
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                                                                     Vice Chairman WARNER. I’d like to thank all the witnesses for
                                                                  their testimony. I find a little stunning, Mr. Sandvoss, your an-
                                                                  swer. I don’t know—I think if you saw the preceding panel, you
                                                                  had the DHS and the FBI unambiguously say that it was the Rus-
                                                                  sians who hacked into these 21 systems, and I find it a little
                                                                  strange that they’ve not relayed that information to you.
                                                                     What we discovered in the earlier testimony is that we finally got
                                                                  public disclosure that 21 states were attacked, and under ques-
                                                                  tioning from Senator Harris we found that, even though we know
                                                                  those 21 states were attempted to be hacked into, or doors rattled
                                                                  or whatever analogy you want to use, in many cases the State elec-
                                                                  tion officials, whether the State directors or the secretaries of state,
                                                                  may not even have been notified.
                                                                     I find that stunning. And clearly lots of local elected officials,
                                                                  local election officials, where the activities really take place,
                                                                  haven’t been notified. So I’ve got a series of questions and I’d ask
                                                                  for fairly brief responses.
                                                                     Dr. Halderman, can you just again restate—as Senator King
                                                                  mentioned in the earlier testimony, you don’t need to disrupt a
                                                                  whole system. You could disrupt a single jurisdiction in a State,
                                                                  and if you could in effect wipe that ledger clean, you could invali-
                                                                  date potentially not just that local election, but then the results at
                                                                  the State, the Congressional level, the states, and ultimately the
                                                                  Nation, is that not correct?
                                                                     Dr. HALDERMAN. Yes, that’s correct.
                                                                     Vice Chairman WARNER. So we are not—while it’s important and
                                                                  I believe in our decentralized system, we are only as strong as our
                                                                  weakest link. Is that not correct?
                                                                     Dr. HALDERMAN. That’s correct.
                                                                     Vice Chairman WARNER. Mr. Haas and Secretary Lawson, do you
                                                                  believe that all 21 states that were attacked, that the State election
                                                                  officials are aware?
                                                                     Ms. LAWSON. I can’t answer that question, sir. I’m not certain.
                                                                  I will tell you that Indiana has not been notified. I don’t know if
                                                                  we’re even on the list.
                                                                     Mr. HAAS. I don’t know for sure, except that DHS did indicate
                                                                  in a teleconference that all the states that were attacked have been
                                                                  notified.
                                                                     Vice Chairman WARNER. We were told earlier that that’s not the
                                                                  case. We were told that they may have been—the vendors may
                                                                  have been notified. So do you know whether Wisconsin was at-
                                                                  tacked?
                                                                     Mr. HAAS. We have not been told that we were—that there was
                                                                  an attack on Wisconsin.
                                                                     Vice Chairman WARNER. Are you comfortable, either one of you,
                                                                  with not having that knowledge?
                                                                     Ms. LAWSON. We are hypersensitive about our security and I
                                                                  would say that when the FBI sent the notice in September for
                                                                  states to look for certain IP addresses to see if their systems had
                                                                  been penetrated or attempted to be penetrated, we absolutely
                                                                  searched. In fact, we looked at 15,500,000 log-ins that had hap-
                                                                  pened in our system since the 1st of January that year. So we be-
                                                                  lieve that our system has not been hacked.
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                                                                     Mr. HAAS. I would also state that both our office and the chief
                                                                  information officer of the State and his office would likely be able
                                                                  to detect if the system was hacked.
                                                                     Vice Chairman WARNER. Well just, we’ve got the two leading
                                                                  State election officials not knowing whether their states were one
                                                                  of the 21 that at least the Russians probed—let me finish, please.
                                                                  And you know, I see—I understand the balance. But the notion
                                                                  that State election officials wouldn’t know, that local election offi-
                                                                  cials clearly haven’t been notified—I appreciate the Chairman’s
                                                                  offer. The Chairman and I are going to write a letter to all the
                                                                  states: If you view yourself as victims, I think there is a public obli-
                                                                  gation to disclose. Again, not to re-litigate 2016, but to make sure
                                                                  that we’re prepared for 2017, where I have State elections in my
                                                                  State this year, and 2018. And to do otherwise—because there are
                                                                  some, there are some still in the political process, that believe this
                                                                  whole Russian incursion into our elections is a witch hunt and fake
                                                                  news.
                                                                     So I could very easily see some local elected officials saying:
                                                                  ‘‘This is not a problem, this is not a bother; I don’t need to tighten
                                                                  up my security procedures at all.’’ And that would do a huge, huge
                                                                  disservice to the very trust, Secretary Lawson, that you say you
                                                                  want to try to present and provide for our voters.
                                                                     So I hope when you receive the letter from our—and we’ll write
                                                                  this on a confidential basis, but that you would urge your col-
                                                                  leagues to come forward, again not to embarrass any State. But I
                                                                  find it totally unacceptable, one, that the public doesn’t know, that
                                                                  local elected officials—local election officials don’t know, that you
                                                                  as two, as the leaders of the State election officials, don’t even
                                                                  know whether your states were part of the 21 that has been testi-
                                                                  fied by the DHS that at least they were, if not looked at, door jig-
                                                                  gled, or actually, as the case in Illinois, where actual information
                                                                  from the voter registration efforts were exfiltrated.
                                                                     So my hope is that you will work with us on a cooperative basis
                                                                  and we want to make sure that the DHS and others are better at
                                                                  sharing information and you get those classified briefings that you
                                                                  deserve.
                                                                     Chairman BURR. Senator Risch.
                                                                     Senator RISCH. Thank you very much.
                                                                     Mr. Sandvoss, July 12th was the date that you first discovered
                                                                  that you had issues, is that right?
                                                                     Mr. SANDVOSS. Yes, that’s correct.
                                                                     Senator RISCH. And that was a result of a high-volume spike. Is
                                                                  that correct?
                                                                     Mr. SANDVOSS. Yes, that is correct.
                                                                     Senator RISCH. Then when you looked at it, you found out that
                                                                  the intrusion attempts actually had started June 23rd, is that cor-
                                                                  rect?
                                                                     Mr. SANDVOSS. Yes.
                                                                     Senator RISCH. So—and those were low-volume spikes, starting
                                                                  on June 23rd?
                                                                     Mr. SANDVOSS. Yes.
                                                                     Senator RISCH. All right. So if they had never cranked up the
                                                                  volume, is it fair to say you would have never discovered it or prob-
                                                                  ably wouldn’t have discovered it?
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                                                                     Mr. SANDVOSS. I would say it would probably not have been dis-
                                                                  covered, certainly not right away. And if it was—the volume was
                                                                  low enough, even an analysis of our server logs might not catch
                                                                  something like that, because it wouldn’t stand out. So I think the
                                                                  answer to your question is yes.
                                                                     Senator RISCH. Then you said 12—or seven days later, the 19th,
                                                                  you notified the Attorney General. Is that right?
                                                                     Mr. SANDVOSS. Yes, correct.
                                                                     Senator RISCH. That was the Illinois Attorney General, not the
                                                                  U.S. Attorney General, is that correct?
                                                                     Mr. SANDVOSS. Yes. State law requires that we notify the Attor-
                                                                  ney General in these instances.
                                                                     Senator RISCH. So then the next thing that happened is you were
                                                                  contacted by the FBI. Is that correct?
                                                                     Mr. SANDVOSS. Yes.
                                                                     Senator RISCH. All right. So the question I’ve got—I’m just trying
                                                                  to get an understanding of the facts—are you assuming that the Il-
                                                                  linois AG contacted the FBI, or do you know that or not know that,
                                                                  or——
                                                                     Mr. SANDVOSS. I don’t know that for sure, but I would suspect
                                                                  that they probably did, because how else would the FBI know?
                                                                     Senator RISCH. Right. Well, and that’s kind of where I was get-
                                                                  ting, is that was not the result of some Federal analysis, that there
                                                                  wasn’t a Federal analysis of this that turned up what had actually
                                                                  happened. Is that a fair statement?
                                                                     Mr. SANDVOSS. I believe so, yes.
                                                                     Senator RISCH. Okay. You then did some things to try to mitigate
                                                                  what had happened. Have you shared this with other states as to
                                                                  what you had done, in order to, I don’t know, develop a best prac-
                                                                  tices, if you would?
                                                                     Mr. SANDVOSS. We didn’t have any formal notification to all 50
                                                                  states, no. I think our focus at that time was trying to repair the
                                                                  damage and assess, you know, what needed to be done, especially
                                                                  with respect to the voters who had their information accessed.
                                                                     I believe that once the FBI became aware of this, I know they
                                                                  contacted the different states. I don’t believe our Attorney Gen-
                                                                  eral’s office did, although I don’t know that for certain. But we did
                                                                  not have any formal communication with all 50 states regarding
                                                                  this.
                                                                     Senator RISCH. And do you believe that you have developed a
                                                                  best-practices action after this attack that you’ve described for us?
                                                                     Mr. SANDVOSS. I believe so, yes.
                                                                     Senator RISCH. Do you think it would be appropriate for you to
                                                                  get that out through the secretary of states organization or other
                                                                  organizations, so that other states could have that?
                                                                     Mr. SANDVOSS. Certainly. Absolutely.
                                                                     Senator RISCH. Okay.
                                                                     Mr. Halderman, Your hacking that you’ve described for us, would
                                                                  your ability—if you were sitting in Russia right now and wanted
                                                                  to do the same thing that you had done, would that ability be de-
                                                                  pendent upon the machines or whatever system is used being con-
                                                                  nected to the Internet?
                                                                     Dr. HALDERMAN. That ability would depend on whether pieces of
                                                                  election IT equipment, IT offices that are where the election pro-
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                                                                  gramming is prepared, are ever connected to Internet. The ma-
                                                                  chines themselves don’t have to be directly connected to the Inter-
                                                                  net for a remote attacker to target them.
                                                                     Senator RISCH. So would you recommend that the voting system
                                                                  be disconnected from the Internet, that it be a standalone system
                                                                  that can’t be accessed from the outside?
                                                                     Dr. HALDERMAN. It’s a best practice, certainly, to isolate vote tab-
                                                                  ulation equipment as much as possible from the Internet, including
                                                                  isolating the systems that are used to program it.
                                                                     But other pieces of election infrastructure that are critical, such
                                                                  as electronic poll books or online registration systems, do some-
                                                                  times need to be connected to Internet—to systems that have Inter-
                                                                  net access.
                                                                     Senator RISCH. But that wouldn’t necessarily require that it be
                                                                  connected to the Internet for the actual voting process. Is that
                                                                  right?
                                                                     Dr. HALDERMAN. That’s right.
                                                                     Senator RISCH. And then the extrication of that information off
                                                                  of the voting machine, would that be fair?
                                                                     Dr. HALDERMAN. I think that’s fair to say.
                                                                     Senator RISCH. Thank you.
                                                                     Mr. Chairman, I think all of this really needs to be drilled down
                                                                  a little bit further, because it seems to me, with this experience,
                                                                  there’s probably some pretty good information where you could put
                                                                  a firewall in place to stop it, or at least minimize it.
                                                                     Thank you.
                                                                     Chairman BURR. Senator Wyden.
                                                                     Senator WYDEN. Thank you, Mr. Chairman. And thank all of
                                                                  you.
                                                                     I want to start with you, Professor Halderman. What are the
                                                                  dangers of manipulation of voter registration databases, particu-
                                                                  larly if it isn’t apparent until Election Day when people show up
                                                                  at the polls to vote?
                                                                     Dr. HALDERMAN. I’m concerned that manipulating voter registra-
                                                                  tion databases could be used to try to sabotage the election process
                                                                  on Election Day. If voters are removed from the registration data-
                                                                  base and then they show up on Election Day, that’s going to cause
                                                                  problems. If voters are added to the voter registration database,
                                                                  that could be used to conduct further attacks.
                                                                     Senator WYDEN. Let me ask—and this can be directed at any of
                                                                  you. I’m trying to get my arms around this role of contractors and
                                                                  subcontractors and vendors who are involved in elections. Any idea,
                                                                  even a ball park number, of how many of these people there are?
                                                                  10, 70, 200?
                                                                     Dr. HALDERMAN. Vendors that host the voter registration sys-
                                                                  tem?
                                                                     Vice Chairman WARNER. Yes.
                                                                     Dr. HALDERMAN. I’m sorry, Senator, I don’t have a number.
                                                                     Ms. LAWSON. Sir, I don’t have an exact number either, but I will
                                                                  tell you, in Indiana, for an example, we have six different voting
                                                                  system types. Counties make that decision on their own. But they
                                                                  are all certified by our voting system technical oversight program.
                                                                     Senator WYDEN. That was my main question. So somebody is
                                                                  doing certification over these contractors and subcontractors and
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                                                                  equipment vendors and the like? Does that include voting ma-
                                                                  chines, by the way?
                                                                     Ms. LAWSON. It does. Most states will have a mechanism to cer-
                                                                  tify the voting machines that they’re using, the electronic poll
                                                                  books they’re using, the tabulation machines that they’re using,
                                                                  making sure that they comply with Federal and State law, and
                                                                  making sure that they have the audit processes in place.
                                                                     Senator WYDEN. So do you all have a high degree of confidence
                                                                  that these certification processes are not leaving this other world
                                                                  of subcontractors and the like vulnerable?
                                                                     Dr. HALDERMAN. I have several concerns about the certification
                                                                  processes, including that some states do not require certification to
                                                                  Federal standards; that the Federal standards that we have are
                                                                  unfortunately long overdue for an update and have significant gaps
                                                                  when it comes to security; and that the certification process doesn’t
                                                                  necessarily cover all of the actors that are involved in that process,
                                                                  including the day-to-day operations of companies that do pre-elec-
                                                                  tion programming.
                                                                     Senator WYDEN. One last question. We Oregonians and a num-
                                                                  ber of my colleagues are supportive of our efforts to take vote-by-
                                                                  mail national. And we’ve had it. I was in effect the country’s first
                                                                  Senator elected by vote-by-mail in 1996. We’ve got a paper trail.
                                                                  We’ve got air gap computers. We’ve got plenty of time to correct
                                                                  voter registration problems if there are any.
                                                                     Aren’t those the key elements of trying to get on top of this? Be-
                                                                  cause it seems to me, particularly the paper trail—if you want to
                                                                  send a message to the people who are putting at risk the integrity
                                                                  of our electoral institutions, having a paper trail is just funda-
                                                                  mental to being able to have the backup we need.
                                                                     I think you’re nodding affirmatively, Professor Halderman, so I’m
                                                                  kind of inclined—or one of you two at the end were nodding affirm-
                                                                  atively, and I’ll quit while I’m ahead if that was the case. But
                                                                  would either of you like to take that on?
                                                                     Dr. HALDERMAN. Vote-by-mail has significant cybersecurity bene-
                                                                  fits. It’s very difficult to hack a vote-by-mail system from an office
                                                                  in Moscow. Whether vote-by-mail is appropriate for every State in
                                                                  every context is in our system of course a matter for the states, but
                                                                  I think it offers positive security benefits.
                                                                     Senator WYDEN. All right.
                                                                     Thank you, Mr. Chairman.
                                                                     Chairman BURR. Senator Blunt.
                                                                     Senator BLUNT. Dr. Halderman, on that last answer to that last
                                                                  question, how do you count vote-by-mail ballots?
                                                                     Dr. HALDERMAN. Generally, they would be counted using optical
                                                                  scanners.
                                                                     Senator BLUNT. Exactly. So you count them the same way you
                                                                  count ballots that aren’t vote-by-mail in almost every jurisdiction?
                                                                     Dr. HALDERMAN. If the optical scan ballots are subsequently au-
                                                                  dited, you can get high security from that process, but yes.
                                                                     Senator BLUNT. Well that’s a different—that’s a different ques-
                                                                  tion. Your question there is do you prefer paper ballots and an
                                                                  audit trail, and I do too. But let’s not assume that the vote-by-mail
                                                                  ballots are counted any differently. They’re counted probably at a
                                                                  more central location, but that doesn’t mean that all the manipula-
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                                                                  tion you talked about that we need to protect against wouldn’t hap-
                                                                  pen in a vote-by-mail election. You’ve got a way to go back and
                                                                  you’ve got a paper trail to count.
                                                                     Dr. HALDERMAN. That’s correct. There are three things you need:
                                                                  paper, auditing, and otherwise good security practices.
                                                                     Senator BLUNT. While I’ve got you there, on auditing, how would
                                                                  you audit a non-paper system? If it’s a touchscreen system—you
                                                                  mentioned Colorado, and New Mexico already did a required sam-
                                                                  ple audit, which I’m certainly not opposed to that if that’s what
                                                                  states want to do, or it’s the best thing to do. How would you do
                                                                  a non-paper audit?
                                                                     Dr. HALDERMAN. Senator, I think it would be difficult or impos-
                                                                  sible to audit non-paper systems with the technology that we use
                                                                  in the United States to a high level of assurance.
                                                                     Senator BLUNT. So even if you—if you don’t have something to
                                                                  audit, it’s pretty hard to audit a system that counted—that didn’t
                                                                  leave a trail.
                                                                     Dr. HALDERMAN. It’s basically impossible.
                                                                     Senator BLUNT. So, Mr. Sandvoss, in Illinois do you certify count-
                                                                  ing systems?
                                                                     Mr. SANDVOSS. Yes, we do.
                                                                     Senator BLUNT. And Secretary Lawson, do you certify counting
                                                                  systems?
                                                                     Ms. LAWSON. Yes, sir.
                                                                     Senator BLUNT. Mr. Haas, in your, your jurisdiction, somebody is
                                                                  certifying those systems that you use?
                                                                     Mr. HAAS. We both rely on the EAC certification and then our
                                                                  commission does a testing protocol and then approves the equip-
                                                                  ment to be used in the State of Wisconsin.
                                                                     Senator BLUNT. And back in Illinois, do you then monitor in any
                                                                  way that counting system while it’s doing the actual counting?
                                                                     Mr. SANDVOSS. No, the actual counting done on Election Day,
                                                                  Election Night rather, is done locally at the county clerk’s offices
                                                                  or board of election commissioner offices. We certify the voting
                                                                  equipment. They have to apply for certification and approval,
                                                                  which we conduct a fairly rigorous test of the voting equipment.
                                                                  But then in actual practice, other than—we do conduct pre-election
                                                                  tests of the voting equipment on a random basis before each elec-
                                                                  tion, but there—it’s a limited number of jurisdictions.
                                                                     Senator BLUNT. And do you do that in a way that allows you
                                                                  from your central office to get into the local system? Or do you go
                                                                  to the local jurisdictions or just monitor how they count that—how
                                                                  they, how they check that counting system?
                                                                     Mr. SANDVOSS. When we do our pre-election tests, we actually
                                                                  visit the jurisdiction.
                                                                     Senator BLUNT. All right.
                                                                     Secretary Lawson, similar?
                                                                     Ms. LAWSON. Similar. However, the State does not go into the
                                                                  counties, but the counties are required to do a public test and, as
                                                                  I mentioned, it’s public. And so they’re required to do testing on the
                                                                  machines, the tabulation. There’s a bipartisan election board that’s
                                                                  there——
                                                                     Senator BLUNT. I guess the point I’d want to drive home there
                                                                  is that not opening that door to the counting system—if you don’t
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                                                                  have the door, nobody else can get through that door as well. But
                                                                  there’s monitoring, there’s local testing.
                                                                     I don’t suggest at all that Dr. Halderman’s comments aren’t im-
                                                                  portant or something we should guard against. I was an election
                                                                  official for 20 years, including the chief election official for 8 of
                                                                  those, and something—as we were transitioning to these systems,
                                                                  something I was always concerned about is what could possibly be
                                                                  done that could be done and undetected.
                                                                     One of the reasons I always liked the audit trail—that obviously,
                                                                  Dr. Halderman, you do, you do too, is that you do have something
                                                                  to go back, if you have a reason to go back, and really determine
                                                                  what happened on Election Day.
                                                                     Let’s talk for just a moment about the much more open registra-
                                                                  tion system. Secretary Lawson, you said you had 15,500 logins. I
                                                                  believe that was—talk about logging—what are they logging into
                                                                  there? The statewide voter registration system that you maintain
                                                                  a copy of?
                                                                     Ms. LAWSON. The 92 county clerks in Indiana are connected to
                                                                  the statewide voter registration system, and that 15,500,000 logins
                                                                  reflected the work that they did that year.
                                                                     Senator BLUNT. 15,500,000?
                                                                     Ms. LAWSON. 15,500,000.
                                                                     Senator BLUNT. So obviously that’s a system that has lots of peo-
                                                                  ple coming in and out of that system all the time. Do local jurisdic-
                                                                  tions, like if the library does registration, do you have counties
                                                                  where they can also put those registrations directly into the sys-
                                                                  tem?
                                                                     Ms. LAWSON. Other than the counties, no, sir. But we do have
                                                                  Indianavoters.com, where a voter can go on and register them-
                                                                  selves. And it’s a record that is compared to the DMV record, and
                                                                  then the counties will find that information in their hopper the
                                                                  next day. And then they will—or their computer system, and then
                                                                  the next day they will have the ability to determine whether or not
                                                                  the application is correct.
                                                                     Senator BLUNT. Do all of your jurisdictions, the three jurisdic-
                                                                  tions here reflected, have some kind of provisional voting? If you
                                                                  get to the voting place on Election Day and your address is wrong,
                                                                  or your name is wrong, or it doesn’t occur—it doesn’t appear at all,
                                                                  do you have a way somebody can cast a ballot before they leave?
                                                                     Ms. LAWSON. Yes, sir.
                                                                     Senator BLUNT. And in Illinois?
                                                                     Mr. SANDVOSS. Yes, we do.
                                                                     Mr. HAAS. We have provisional ballots, but they are very limited.
                                                                  We are not an NVRA State. And we also have Election Day reg-
                                                                  istration, so people can register at the polls.
                                                                     Senator BLUNT. So, the failure to have your name properly on
                                                                  the—I understand, Chairman, and I also noticed the time on oth-
                                                                  ers. But just, the registration system is much more open than the
                                                                  tallying system, that doesn’t mean the tallying system doesn’t need
                                                                  to be further protected. But the registration system, the idea that
                                                                  somebody gets into the registration system—there are plenty of
                                                                  ways to do that. Unfortunately, we think now other countries and
                                                                  governments may be doing that as well.
                                                                     Chairman BURR. Senator King.
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                                                                     Senator KING. Thank you, Mr. Chairman.
                                                                     Dr. Halderman, you’re pretty good at hacking voting machines,
                                                                  by your testimony. Do you think the Russians are as good as you?
                                                                     Dr. HALDERMAN. The Russians have the resources of a nation
                                                                  state. I would say their capabilities would significantly exceed
                                                                  mine.
                                                                     Senator KING. I expected that was going to be your answer, but
                                                                  I wasn’t sure whether your modesty would—but I think that’s an
                                                                  important point, because you testified here today that you were
                                                                  able to hack into a voting machine in 48 hours, change the results,
                                                                  and nobody knew you had done it. And if you could do it, I think
                                                                  the point is the Russians could do it if they chose.
                                                                     And we’ve been talking a lot about registrations lists. My under-
                                                                  standing is that quite often a voter registration list at some point
                                                                  in the process is linked up with—the computer that has the voter
                                                                  registration list is linked up with configuring the voting machines,
                                                                  and perhaps even tallying votes. Is that true? Can any of you——
                                                                     Ms. LAWSON. No, sir.
                                                                     Senator KING. There’s no connection between the registration list
                                                                  and the voting machines?
                                                                     Ms. LAWSON. No.
                                                                     Senator KING. Illinois? Is that——
                                                                     Mr. SANDVOSS. Not in Illinois, no.
                                                                     Senator KING. Okay.
                                                                     Mr. HAAS. That’s correct.
                                                                     Senator KING. Then I was mistaken.
                                                                     Yes, Dr. Halderman?
                                                                     Dr. HALDERMAN. I believe that depends on the specific equipment
                                                                  involved. There may be some designs of voting systems where the
                                                                  sign-in and the vote counting system are linked.
                                                                     Senator KING. But of course, if, as you testified I think, if the
                                                                  voting registration list is tampered with in some way on Election
                                                                  Day, it would be chaos if names disappeared, people arrived at the
                                                                  polls and their names weren’t on the list. Isn’t that correct, Ms.
                                                                  Lawson?
                                                                     Ms. LAWSON. If a person showed up at the polls to vote and their
                                                                  name wasn’t on the list, if they were expecting they would be given
                                                                  a provisional ballot, I think the biggest danger is that the lines at
                                                                  the polls would increase significantly if there was a large number
                                                                  of folks who had to do that in each precinct.
                                                                     Senator KING. Right, that was what I was referring to.
                                                                     On August 1 of 2016, press reports have indicated that there was
                                                                  an FBI notification to all of their field offices about the danger of
                                                                  cyber intrusions into voting systems. Supposedly, those were
                                                                  passed on to State election systems. Did you three get something
                                                                  from the FBI around August 1st that gave IP addresses and some
                                                                  warnings about what should be done?
                                                                     Mr. SANDVOSS. Yes, we did receive an FBI flash. It was in Au-
                                                                  gust, and you’re saying the 1st. I believe that was it.
                                                                     Senator KING. That was, yes, I understand that was the date of
                                                                  it. Ms. Lawson, did you receive that?
                                                                     Ms. LAWSON. Yes, Indiana received a notice from the FBI.
                                                                     Mr. HAAS. We did as well.
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                                                                     Senator KING. So there is some interconnection. I mean, one of
                                                                  the things that I’m sort of hearing, and I’m frankly appreciative
                                                                  and happy that you all did receive that notice, but there seems to
                                                                  be a lack of information-sharing that goes on that we really need
                                                                  to be sure that—for example, if you learn—if something happens
                                                                  in Illinois, some system whereby you can alert your colleagues
                                                                  across the country to look out for this. And if we learn things here
                                                                  in Washington, if the FBI learns things, that they can alert people
                                                                  around the country, because the best time to deal with this is be-
                                                                  fore the election. After the election or on Election Day is much
                                                                  more difficult.
                                                                     Dr. Halderman.
                                                                     Dr. HALDERMAN. Yes, I would support further information shar-
                                                                  ing.
                                                                     Senator KING. And then finally, we’ve talked about what we do
                                                                  about this. Paper trails has come up. Is that the principal defense?
                                                                  Is that—Dr. Halderman, what if—I asked the question to the prior
                                                                  panel. What would you tell my elections clerk in Brunswick, Maine,
                                                                  would be the three things most important that they should do, or
                                                                  my Secretary of State in Maine, to protect themselves against a
                                                                  threat we know is coming?
                                                                     Dr. HALDERMAN. The most important things are to make sure we
                                                                  have votes recorded on paper, paper ballots, which just cannot be
                                                                  changed in a cyber attack, that we look at enough of that paper in
                                                                  a post-election, risk-limiting audit, to know that they haven’t—the
                                                                  electronic records haven’t been changed; and then, to make sure we
                                                                  are generally increasing the level of our cyber security practice. In-
                                                                  formation-sharing is an example of a good and recommended prac-
                                                                  tice, as are firewalling systems and other things that have been
                                                                  suggested.
                                                                     Senator KING. One final question. Is it possible—and there are
                                                                  some press reports about this—a cyber attack on the vendors of
                                                                  these machines, to somehow tamper with the machines before they
                                                                  go out to the states. Is that a risk?
                                                                     Dr. HALDERMAN. I would be concerned about that. And in fact
                                                                  the small number of vendors is an example of how our system in
                                                                  practice is not quite as decentralized as it may appear, that attacks
                                                                  spreading via vendors or from vendors to their customers could be
                                                                  a way to reach voting equipment over a very large area.
                                                                     Senator KING. And there have been press reports that that in
                                                                  fact, was attempted in 2016.
                                                                     Dr. HALDERMAN. Yes, that’s correct.
                                                                     Senator KING. Thank you, Mr. Chairman. Mr. Chairman, I want
                                                                  to thank you for holding this hearing. This is such important infor-
                                                                  mation for the public and for our democracy. I appreciate your
                                                                  work here.
                                                                     Chairman BURR. Thank you, Senator.
                                                                     Senator Harris.
                                                                     Senator HARRIS. Thank you.
                                                                     So there’s a saying that I’m sure many of you have heard, which
                                                                  is the you know the difference between being hacked and not being
                                                                  hacked, is knowing you’ve been hacked. And so I appreciate, Dr.
                                                                  Halderman, the recommendations that you and your colleagues
                                                                  have made, because it also seems to cover the various elements of
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                                                                  what we need to do to protect ourselves as a country in terms of
                                                                  our elections, which is prevention, and then there’s the issue of de-
                                                                  tection and also resilience. Once we—if we discover that we’ve been
                                                                  manipulated, let’s have the ability to stand back up as quickly as
                                                                  possible.
                                                                     So I have a few questions in that regard. First of all, have each
                                                                  of you—you received for the states, received a notification from the
                                                                  FBI? Is that correct?
                                                                     Ms. LAWSON. Yes, ma’am.
                                                                     Mr. HAAS. Yes, yes.
                                                                     Mr. SANDVOSS. Yes.
                                                                     Senator HARRIS. And were any of you also notified by DHS? Mr.
                                                                  Sandvoss?
                                                                     Mr. SANDVOSS. We’ve had communications with DHS. I don’t re-
                                                                  call how they were initiated. But I do know that there have been
                                                                  some conference calls with them, and it may have been through the
                                                                  FBI that that occurred.
                                                                     Senator HARRIS. And I’m speaking of before the 2016 election.
                                                                     Mr. SANDVOSS. Yes.
                                                                     Senator HARRIS. Yes.
                                                                     Mr. SANDVOSS. Yes.
                                                                     Senator HARRIS. Secretary Lawson.
                                                                     Ms. LAWSON. Yes, we had—we did have conversations with De-
                                                                  partment of Homeland Security. However, it was through our na-
                                                                  tional association. It was not a direct contact with the State.
                                                                     Senator HARRIS. Thank you.
                                                                     Mr. HAAS. We were one of the states that took up DHS on their
                                                                  offers to do the cyber hygiene scan. We did have a number of com-
                                                                  munications with, I believe, a point person in their Chicago office.
                                                                  The FBI alert I think was about a specific incident, but our com-
                                                                  munications with DHS were more about general steps that could
                                                                  be taken to protect our systems.
                                                                     Senator HARRIS. So as a follow-up to this hearing, if each of you,
                                                                  to the extent that you can recall the nature of those conversations
                                                                  with DHS before the election, if you could share that with the Com-
                                                                  mittee that would be helpful, so we can figure out how notifications
                                                                  might be more helpful to you in the future. Hopefully they’re not
                                                                  necessary, but if necessary.
                                                                     Can you, Ms. Lawson, tell me—Secretary Lawson—what in your
                                                                  opinion are the pros and cons of requiring states to report to the
                                                                  Federal Government if there’s been a breach or a hack? What can
                                                                  you imagine would be the pros and cons of a policy that would re-
                                                                  quire that?
                                                                     Ms. LAWSON. Well, the pro would be that if there—if, for an ex-
                                                                  ample, the FBI or the Department of Homeland Security has better
                                                                  ways to counter those attacks, or to make sure that the reconnais-
                                                                  sance that’s done after such an attack is more sophisticated than
                                                                  the states, then obviously that would be a pro.
                                                                     Indiana did not take the opportunity to have DHS do our cyber
                                                                  cleaning because we felt that we were in better shape than what
                                                                  they could provide for us, so that would be the con.
                                                                     Senator HARRIS. Okay.
                                                                     And can you, Professor Halderman, tell me—you know, before
                                                                  this last election cycle, there had been a lot of talk through the
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                                                                  years in various states—Senator Blunt, I’m sure you were part of
                                                                  those discussions—about the efficacy of online voting, because it
                                                                  would bring convenience, speed, efficiency, accuracy. And now we
                                                                  can see that there will be great, potentially, vulnerabilities by
                                                                  doing that. So can you talk with me a little about, just in terms
                                                                  of policy, is the day of discussing the need for online voting, has
                                                                  that day passed because of the vulnerabilities that are associated
                                                                  with that?
                                                                     Dr. HALDERMAN. I think that online voting, unfortunately, would
                                                                  be painting a bullseye on our election system. Today’s technology
                                                                  just does not provide the level of security assurance for an online
                                                                  election that you would need in order for voters to have high con-
                                                                  fidence.
                                                                     And I say that having myself done—hacked an online voting sys-
                                                                  tem that was about to be used in real elections, having found
                                                                  vulnerabilities in online voting systems that are used in other
                                                                  countries. The technology just isn’t ready for use.
                                                                     Senator HARRIS. And isn’t that the irony, that the professor of
                                                                  computer engineering and I, who always believed that we need to
                                                                  do more to adopt technology, that government needs to adopt tech-
                                                                  nology, I think we’re advocating the good old days of paper voting
                                                                  are the way to go, or at least an emphasis on that, instead of using
                                                                  technology to vote.
                                                                     Can you tell me also—any of you, if you know—it’s my under-
                                                                  standing that some of the election system vendors have required
                                                                  states to sign agreements that prevent or inhibit independent secu-
                                                                  rity testing. Are you familiar with that?
                                                                     Dr. HALDERMAN. That certainly had been something that inhib-
                                                                  ited attempts by researchers like me to study election systems in
                                                                  the past.
                                                                     Senator HARRIS. And do you believe that that’s a practice that
                                                                  is continuing?
                                                                     Dr. HALDERMAN. I do not—I don’t know the answer to that ques-
                                                                  tion.
                                                                     Senator HARRIS. Have any of you had that experience with any
                                                                  of your vendors?
                                                                     Mr. SANDVOSS. In Illinois, no, we have not. And I don’t think Illi-
                                                                  nois law would allow such an agreement.
                                                                     Ms. LAWSON. I don’t believe that would happen in Indiana either,
                                                                  Senator, because in order to sell voting equipment in the State of
                                                                  Indiana it has to be certified.
                                                                     Senator HARRIS. Right, which would require testing.
                                                                     Ms. LAWSON. Yes, which requires testing.
                                                                     Senator HARRIS. Thank you.
                                                                     Thank you, Mr. Chairman. Thank you.
                                                                     Chairman BURR. Thank you, Senator Harris.
                                                                     Does any Senators seek additional questions or time?
                                                                     [No response.]
                                                                     Seeing none, let me wrap up. I want to thank all of you for your
                                                                  testimony today.
                                                                     Secretary Lawson, to you. I really encourage you, as the next
                                                                  representative of secretaries of states, to remain engaged with the
                                                                  Federal Government, specifically the Department of Homeland Se-
                                                                  curity. And I think with any transition of an administration there
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                                                                  is a handoff and a ramp-up. And I’ve been extremely impressed
                                                                  with our witness from DHS, who not only was here today, but she
                                                                  has taken the bull by the horns on this issue. And I think you’ll
                                                                  see those guidelines very quickly, and I hope that there will be
                                                                  some interaction between secretaries of states, since in 40 states
                                                                  you control the voting process, and you can find a system of Fed-
                                                                  eral guidance and collaboration that works comfortably with every
                                                                  secretary of state in your organization.
                                                                     I think it is absolutely critical that we have not only a collabora-
                                                                  tion, but a communication, between the Federal Government and
                                                                  the states as it relates to our voting systems. If not, I fear that
                                                                  there would be an attempt to in some way, shape, or form nation-
                                                                  alize that. That is not the answer.
                                                                     And I’ll continue to point, Mr. Sandvoss, to Illinois as a great ex-
                                                                  ample of a State that apparently focused on the IT infrastructure
                                                                  and staff, and didn’t wait for the Federal Government to knock on
                                                                  the door and say, hey, you got a problem. You identified your prob-
                                                                  lem, you began to remediate it. At some point, the Federal Govern-
                                                                  ment came in as a partner. And I think where we see our greatest
                                                                  strength is to work with states and to chase people like you, Dr.
                                                                  Halderman, who like to break into—no, I’m just kidding with you.
                                                                     Listen, I think what you did is important. And I think the ques-
                                                                  tions that you raised about the fact that you really can target to
                                                                  make the impact of what you’re trying to do very, very effective.
                                                                  And that’s clearly what campaigns do every day. So we shouldn’t
                                                                  be surprised if the Russians actually looked at that or anybody else
                                                                  who wants to intrude into our voting system and our democracy in
                                                                  this country.
                                                                     I’ve got to admit that the variation of voting methods, six in Indi-
                                                                  ana, where I don’t know how many counties you’ve got—I’ve got
                                                                  100 counties in North Carolina. It may be that I find out that every
                                                                  county in North Carolina has the power to determine what voting
                                                                  machines, what voting software they have.
                                                                     This can get extremely complicated. Short of trying to stand-
                                                                  ardize everything, which I don’t think is the answer, is how do we
                                                                  create the mechanism for the Federal Government to collaborate
                                                                  directly with those heads of election systems in the states and un-
                                                                  derstand up front what we bring to the table and how we bring it,
                                                                  so that we’re all looking at the same thing—the integrity of every
                                                                  vote going to exactly who it was intended to do.
                                                                     So, yes, we’re going to have debates on paper or electronic. We’re
                                                                  going to have debates on what should the Federal role be. At the
                                                                  end of the day, if we haven’t got cooperation and collaboration and
                                                                  communication, I will assure you we will be here with another Con-
                                                                  gress, with another makeup of the Committee, asking the same
                                                                  questions, because we won’t have fixed it.
                                                                     But I think that what Dr. Halderman has said to us is, there are
                                                                  some ways that we can collectively approach this to where our cer-
                                                                  tainty of intrusions in the future can go down and the accuracy of
                                                                  the vote totals can be certified.
                                                                     So I thank all the four of you for being here today in our second
                                                                  panel. This hearing is now adjourned.
                                                                     [Whereupon, at 12:36 p.m., the hearing was adjourned.]
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